Case 5:16-cv-00263-DMG-E Document 67 Filed 04/22/19 Page 1 of 3 Page ID #:1636



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 9                             UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11
     MALIK BROWN, individually and on           Case No. 5:16-cv-00263-DMG-(Ex)
12   behalf of all others similarly situated,
                                                STIPULATION OF VOLUNTARY
13                          Plaintiff,          DISMISSAL WITH PREJUDICE
                                                PURSUANT TO FEDERAL RULE
14                v.                            OF CIVIL PROCEDURE
15                                              41(a)(1)(A)(ii)
     DIRECTV, LLC,
16                                              The Honorable Dolly M. Gee
                               Defendant.
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     STIPULATION OF VOLUNTARY DISMISSAL
     CASE NO. 5:16-CV-00263-DMG-(EX)
Case 5:16-cv-00263-DMG-E Document 67 Filed 04/22/19 Page 2 of 3 Page ID #:1637




 1         TO THE COURT, ALL PARTIES AND COUNSEL OF RECORD:
 2         IT IS HEREBY STIPULATED by and between Plaintiff Malik Brown, and
 3   Defendant DIRECTV, LLC, that pursuant to Rule 41(a)(1)(A)(ii), Plaintiff Malik
 4   Brown hereby dismisses all claims in this action against Defendant DIRECTV, LLC
 5   with prejudice. Each party agrees to bear their own attorneys’ fees and costs.
 6

 7   Dated: April 22, 2019             BURSOR & FISHER, P.A.
 8
                                       By:          /s/ Yeremey Krivoshey
 9
                                                    Yeremey Krivoshey
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     Dated: April 22, 2019             MAYER BROWN LLP
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20                                     By:   /s/ Hans J. Germann

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     CASE NO. 5:16-CV-00263-DMG-(EX)
Case 5:16-cv-00263-DMG-E Document 67 Filed 04/22/19 Page 3 of 3 Page ID #:1638



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     CASE NO. 5:16-CV-00263-DMG-(EX)
